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 8                             UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    ALICIA DEL VILLAR,                               Case No.: 18-cv-01721-JLS-MDD
12                                    Plaintiff,
                                                       ORDER CONTINUING STATUS
13    v.                                               CONFERENCE
14    TRANSDEV SERVICES, INC.,
15                                  Defendant.
                                                       [ECF No. 48]
16
17         In light of the Settlement Conference set for November 10, 2021, before Magistrate
18    Judge Dembin (ECF No. 49), the Status Conference previously set for October 7, 2021,
19    before Judge Sammartino (ECF No. 48) is hereby CONTINUED to November 18, 2021,
20    at 1:30 PM in Courtroom 4D.
21         IT IS SO ORDERED.
22    Dated: October 6, 2021
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